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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

    NICHIA CORPORATION,

                       Plaintiff,
                                                         Case No. 6:19-CV-1333-RBD-EJK
    v.

    LIGHTING SCIENCE GROUP CORP.

                       Defendant.
                                                /

                 RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION
                 TO STRIKE DEFENDANT’S INVALIDITY DISCLOSURES

           Plaintiff’s Motion (D.E. 78, “Motion”) seeks to strike invalidity contentions served by

   Defendant. Alternatively, Plaintiff seeks updated contentions. Motion, at 1 n.2. Defendant

   agrees to serve updated contentions. The other relief sought ––striking Defendant’s invalidity

   disclosures and thereby precluding such defenses–– is inappropriate on this record.

           Precluding defenses “‘ought to be a last resort –ordered only if noncompliance with

   discovery orders is due to willful or bad faith disregard for those orders.’” Pandora Jewelry,

   LLC v. Cappola Capital Corp., 2009 WL 790129, at *3 (M.D. Fla. Mar. 23, 2009) (quoting

   United States v. Certain Real Property Located at Route 1, 126 F.3d 1314, 1317 (11th

   Cir.1997)) (striking affirmative defenses after the defendant willfully disregarded three

   separate discovery orders and “was specifically warned that failure to identify and/or produce

   documents could result in dismissal of all unsupported … affirmative defenses”). Such

   sanctions are inappropriate in “the absence of either a motion to compel … or an order of the

   court compelling discovery,” Route 1, 126 F.3d at 1318; or where “Plaintiffs have not

   explained how they suffered prejudice,” DeepGulf Inc. v. Moszkowski, 333 F.R.D. 249, 255




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   (N.D. Fla. 2019). Further, a Magistrate Judge may not issue sanctions that preclude a defense.

   Point Blank Sols., Inc. v. Toyobo Am., Inc., 2011 WL 1456029, at *3 (S.D. Fla. Apr. 5, 2011).

           Here, the Court has not issued an order compelling responses and Plaintiff has not

   sought one before now. Nor has Plaintiff presented evidence of bad faith. On March 4, 2020,

   Defendant served supplemental invalidity contentions addressing issues raised in Plaintiff’s

   correspondence and telephone conferences between counsel including emails and calls on

   February 25, 2020. Later on March 4, 2020, the parties held another call. The specific

   deficiencies raised in this Motion were not discussed; instead, Plaintiff’s counsel stated

   Plaintiff was still unsatisfied with Defendant’s disclosures and intended to file a motion to

   strike and/or to compel better responses. Now that Defendant has read the Motion and

   understand Plaintiff’s specific concerns, Defendant is willing to further update its contentions.

           On March 6, 2020, the day after filing the Motion, Plaintiff served amended

   infringement contentions in this case and a companion case. Defendant’s invalidity disclosures

   are meant to respond to Plaintiff’s infringement contentions. Having amended its contentions

   after filing this Motion, Plaintiff cannot claim any prejudice due to delay in Defendant’s

   responsive disclosures.

           The Motion requests Defendant specifically identify: (1) which disclosed prior art is

   relevant to which patent claim; and (2) which disclosed motivations to combine relate to which

   patent claim. Defendant believes that it has already done so. See, e.g., D.E. 78-1, at 106 (citing

   the combination of Koung, Urasaki, and Oshio against Claims 1 and 7 of U.S. Patent 8,530,250

   and noting “they are in the same field of endeavor … and are reasonably pertinent to” the




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   problems that patent purports to solve).      Nevertheless, Defendant agrees to promptly

   supplement their contentions to further address these specific concerns.



                                                  Respectfully submitted,

                                                  s/Joshua R. Brown____________
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                                                  Attorneys for Defendant


                                 CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the above and foregoing has been

   furnished, electronically, through the CM/ECF system, to all counsel of record on March 12

   2020.

                                                     s/Joshua R. Brown_____________
                                                     Joshua R. Brown




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